        Case 4:17-cv-00616-KGB Document 1 Filed 09/26/17 Page 1 of 3




                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF ARKANSAS
                                   WESTERN DIVISION


Deanna Melcher,


                        Plaintiff,                    Civil Action No.:   Lf Tcv\.o\\o- ~l-£
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        v.
                                                      COMPLAINT AND DEMAND FOR
Bluestem Brands, Inc. d/b/a Fingerhut,                JURY TRIAL

                        Defendant.
                                                   ~his case assigned to District Judge €:a~
      ______________a:nd to.Magistrate Judge                                                Ro,,, · .
                                            COMPLAINT

        For this Complaint, Plaintiff, Deanna Melcher, by undersigned counsel, states as follows:

                                          JURISDICTION

        I.      This action arises out of Defendant's repeated violations of the Telephone

Consumer Protection Act, 47 U.S.C. § 227, et self. (the ''TCPA").

        2.      Venue is proper in this District pursuant to 28 U.S.C. § 1391 (b ), in that Ddendant

transacts business in this District and a substantial portion of· the acts gi\ ing rise to this adion

occurred in this District.

                                              PARTIES

        3.      Plaintiff, Deanna Melcher ("Plaintiff'), is an aJult indi\'idual residing in Carlisle.

AR, and is a "person" as defined by 47 U.S.C. § 153(39).

        4.      Defendant Bluestem Brands, Inc. cl/b/a Fingerhut ("B!uestern ·· ). is a Minnesota

business l:ntity with an address of 7075 Flying Cloud Drive. Eden Prairie. Minnesota 55344, and

is a "person" as defined by 47 U.S.C. § 153(39).
       Case 4:17-cv-00616-KGB Document 1 Filed 09/26/17 Page 2 of 3




                                              FACTS

       5.      Within the last year, Bluestem began calling Plaintiff's cellular telephone, number

870-xxx-0227, using an automatic telephone dialing system ("ATOS" or "predictive dialer")

anJ/or using an artificial or prerecorded voice.

       6.      When Plaintiff answered calls from Bluestem, she heard a prerecorded message.

       7.      On or about February 8, 2017, Plaintiff mailed a cease and desist letter to

Bluestem.

       8.      Nevertheless, Bluestem continued to place automated calls to Plaintiff's cellular

telephone number.

       9.      Bluestem's calls directly interfered with Plaintiff's right to peacefully enjoy a

service for which she paid, and caused Plaintiff a significant amount of anxiety, frustration and

annoyance.

                                 COUNT I
       VIOLATIONS OF THE TELEPHONE CONSUMER PROTECTION ACT-
                           47 U.S.C. § 227, ct seq.

        10.    Plaintiff incorporates by reference all of the above paragraphs of this Complaint

as though fully stated herein.

        11.    At all times mentioned herein Defendant called Plaintiffs cellular telephone

number using an ATOS or predictive dialer and/or using a prerecorded or artificial voice.

        12.    Defendant continued to place automated calls to Plaintiff's cellular telephone

number despite knowing that it lacked consent to do so. As such, each call placed to Plaintiff

was made in knowing and/or willful violation of the TCPA, and subject to treble damages

pursuant to 47 U.S.C. § 227(b)(3)(C).

        13.    The telephone number called by Defendant was assigned to a cellular telephone

serviced by AT&T for which Plaintiff incurs charges pursuant to 47 U.S.C. § 227(b)(l ).

                                                   3
         Case 4:17-cv-00616-KGB Document 1 Filed 09/26/17 Page 3 of 3




         14.    Plaintiff was annoyed, harassed and inconvenienced by Defendant" s continued

calls.

         15.    The calls from Defendant to Plaintiff were not placed for ·'emergency purposes"

as defined by 47 U.S.C. § 227(b)(l)(A)(i).

         16.    Plaintiff is entitled to an award of $500.00 in statutory damages for each call

placed in violation of the TCPA pursuant to 47 U.S.C. § 227(b)(3)(B).

         17.   Plaintiff is entitled to an award of treble damages in an amount up to $1.500.00

pursuant to 47 U.S.C. § 227(b)(3)(B) and 47 U.S.C. § 227(b)(3)(C).

                                     PRAYER FOR RELIEF

         WHEREFORE, Plaintiff prays that judgment be entered against Defendant:

                   1. Statutory damages of $500.00 for each violation detem1i11ed to be negligent

                       pursuant to 47 U.S.C. § 227(b)(3)(B);

                   2. Treble damages for each violation determined to he willful and/or knowing

                       pursuant to 47 U.S.C. § 227(b)(3)(C); and

                   3. Such other and forther relief as may be just and proper.

                       TRIAL BY JURY DEMANDED ON ALL COUNTS

Dated: September 20, 2017




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